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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                   COLUMBUS DIVISION

 KEITH HOBBS, YVETTE GRIFFIN and                        :
 TERRY FABRICANT, individually and on                   :   CIVIL ACTION FILE NO. 4:19-cv-9-CDL
 behalf of others similarly situated,                   :
                                                        :
           Plaintiffs,                                  :
                                                        :   FIRST AMENDED COMPLAINT –
 v.                                                     :   CLASS ACTION
                                                        :
 RANDALL-REILLY, LLC, UBER                              :
 TECHNOLOGIES, INC., and YODEL                          :   JURY TRIAL DEMANDED
 TECHNOLOGIES, LLC,                                     :
                                                        :
           Defendants.
                                                    /

                                        Preliminary Statement

       1.         Plaintiffs Keith Hobbs, Yvette Griffin and Terry Fabricant (“Plaintiffs”) bring this

action to enforce the consumer-privacy provisions of the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227, a federal statute enacted in 1991 in response to widespread public

outrage about the proliferation of automated and prerecorded telephone calls, which, Congress

found, were rightly regarded as in invasion of privacy. See Mims v. Arrow Fin. Servs., LLC, 132

S. Ct. 740, 745 (2012).

       2.         The Plaintiffs allege that Uber Technologies, Inc. (“Uber”) commissioned

automated and pre-recorded calls to Plaintiffs and other putative class members without their

consent.

       3.         These calls were made pursuant to an arrangement between Uber and Yodel

Technologies, LLC (“Yodel Technologies”), a vendor for Uber, and Randall-Reilly, LLC

(“Randall-Reilly”), who participated in the calls by pre-screening and qualifying the called

parties for Uber's services, and at Uber’s direction.
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       4.      The Plaintiffs and putative class members never consented to receive these calls.

Because automated dialing campaigns generally place calls to hundreds of thousands or even

millions of potential customers en masse, the Plaintiffs bring this action on behalf of a proposed

nationwide class of other persons who received illegal robocalls from or on behalf of the

defendants.

       5.      A class action is the best means of obtaining redress for the Defendants’ wide-

scale illegal telemarketing and is consistent both with the private right of action afforded by the

TCPA and the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

                                              Parties

       6.      Plaintiff Keith Hobbs resides in this District.

       7.      Plaintiff Yvette Griffin resides in Georgia.

       8.      Plaintiff Terry Fabricant resides in California.

       9.      Defendant Randall-Reilly, LLC is a Delaware limited liability company with its

principal place of business in Tuscaloosa, AL and a registered agent of CT Corporation at 641

South Lawrence St., Montgomery, AL 36104.

       10.     Defendant Yodel Technologies, LLC is a Delaware limited liability company with

its principal place of business in Palm Harbor, FL and a registered agent of Gabrielle Walthers,

989 Georgia Ave., 1st Floor, Palm Harbor, FL 34683.

       11.     Defendant Uber Technologies, Inc. is a Delaware corporation with its principal

place of business in San Francisco, CA. Uber Technologies, Inc. operates a ride-sharing

marketplace in this District, and has registered an entity Uber Technologies(GA), Inc. in the state

of Georgia.




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                                        Jurisdiction & Venue

       12.       This Court has subject matter jurisdiction under the Class Action Fairness Act of

2005 (“hereinafter referred to as CAFA”), codified as 28 U.S.C. § 1332(d)(2). The matter in

controversy exceeds $5,000,000, in the aggregate, exclusive of interest and costs, as each member

of the proposed Class of at least tens of thousands is entitled to up to $1,500.00 in statutory

damages for each call that has violated the TCPA. Further, Plaintiffs allege a nationwide class,

which will result in at least one Class member from a different state.

       13.       The Court has federal question subject matter jurisdiction over these TCPA

claims. Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740 (2012).

       14.       The Court has personal jurisdiction over the defendants because they

 in nationwide telemarketing conduct, including into this District.

       15.       Venue is proper under 28 U.S.C. § 1391(b)(1) because a substantial part of the

events or omissions giving rise to the claim occurred in this District, as the automated calls were

commissioned into this District.

                                         TCPA Background

         16.     The TCPA makes it unlawful “to make any call (other than a call made for

 emergency purposes or made with the prior express consent of the called party) using an

 automatic telephone dialing system or an artificial or prerecorded voice … to any telephone

 number assigned to a … cellular telephone service.” See 47 U.S.C. § 227(b)(1)(A)(iii). The

 TCPA provides a private cause of action to persons who receive calls in violation of 47 U.S.C.

 § 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

         17.     According to findings by the Federal Communication Commission (“FCC”), the

 agency Congress vested with authority to issue regulations implementing the TCPA, such calls



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are prohibited because, as Congress found, automated or prerecorded telephone calls are a

greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

and inconvenient.

       18.     The FCC also recognized that “wireless customers are charged for incoming calls

whether they pay in advance or after the minutes are used.” In re Rules and Regulations

Implementing the Tel. Consumer Prot. Act of 1991, CG Docket No. 02-278, Report and Order,

18 F.C.C. Rcd. 14014, 14115 ¶ 165 (2003).

       19.     While “prior express consent” is required for all automated and prerecorded calls,

in 2013, the FCC required “prior express written consent” for all such telemarketing calls to

wireless numbers and residential lines. Specifically, it ordered that:

       [A] consumer’s written consent to receive telemarketing robocalls must be signed
       and be sufficient to show that the consumer: (1) received “clear and conspicuous
       disclosure” of the consequences of providing the requested consent, i.e., that the
       consumer will receive future calls that deliver prerecorded messages by or on behalf
       of a specific seller; and (2) having received this information, agrees unambiguously
       to receive such calls at a telephone number the consumer designates.[] In addition,
       the written agreement must be obtained “without requiring, directly or indirectly,
       that the agreement be executed as a condition of purchasing any good or service.[]”

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,

27 F.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted).

       20.      “Telemarketing” is defined as “the initiation of a telephone call or message for

the purpose of encouraging the purchase or rental of, or investment in, property, goods, or

services, which is transmitted to any person.” 47 C.F.R. § 64.1200(f)(12).

       21.     When Congress enacted the TCPA in 1991, it found that telemarketers called

more than 18 million Americans every day. 105 Stat. 2394 at § 2(3).




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       22.    By 2003, telemarketers were calling 104 million Americans every day, abetted by

the proliferation of new and more powerful autodialing technology. In re Rules and Regulations

Implementing the TCPA of 1991, 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).

       23.    Unfortunately, the problems Congress identified when it enacted the TCPA have

grown only worse in recent years:

   •   “Robocalls and telemarketing calls are currently the number one source of consumer
       complaints at the FCC.” FCC Chairman Tom Wheeler, Cutting Off Robocalls (July 22,
       2016) (https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls).


   •   “The FTC receives more complaints about unwanted calls than all other complaints
       combined.” Comment of the Staff of the Federal Trade Commission’s Bureau of
       Consumer Protection, In re Rules and Regulations Implementing the TCPA of 1991,
       Notice of Proposed Rulemaking, CG Docket No. 02-278, at p. 2; FCC 16-57 (June 6,
       2016) (https://www.ftc.gov/system/files/documents/advocacy documents/comment-staff-
       ftc-bureau-consumer-protection-federal-communications-commission-rules-
       regulations/160616robocallscomment.pdf ).


   •   In 2017, the FTC received 4,501,967 complaints about robocalls, compared with
       3,401,614 in 2016. For every month in the fiscal year, robocalls made up the majority of
       consumer complaints about Do Not Call violations. FTC Releases FY 2017 National Do
       Not Call Registry Data (December 18, 2017) (https://www.ftc.gov/news-events/press-
       releases/2017/12/ftc-releases-fy-2017-national-do-not-call-registry-data-book-dnc).


   •   In May of 2018 the New York Times reported extensively on the surging number of
       robocall complaints filed by consumers with the FTC and overall widespread consumer
       outrage as to the prevalence of illegal telemarketing despite existing law. See Yes, It’s
       Bad. Robocalls, and Their Scams, Are Surging. Tara Siegel Bernard.
       https://www.nytimes.com/2018/05/06/your-money/robocalls-rise-illegal.html.


                                      Factual Allegations

       24.    Uber sells technological services to drivers in exchange for a service fee. See

Marketplace.uber.com, last visited May 9, 2019.




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        25. Specifically, drivers pay Uber a fee in order to use Uber’s pricing software through

which drivers can offer upfront pricing to prospective riders based on the estimated length and

duration of the trip. See Marketplace.uber.com/pricing, last visited May 9, 2019.

        26.     Drivers also pay Uber a fee in order to use Uber’s matching software through

which drivers using can efficiently connect with riders looking for transportation and reduce wait

times between rides. See Marketplace.uber.com/matching, last visited May 9, 2019.

        27.     In order to sell these services to prospective drivers, Uber relies on telemarketing

and engages third parties, such as the co-defendants Randall-Reilly and Yodel Technologies to

conduct that telemarketing subject to Uber’s control.

        28.     One of the telemarketing strategies used by Defendants involve the use of

automated dialers and prerecorded messages to solicit potential drivers to use Uber’s services.

        29.     While such automated technology may save time and money for the Defendants’

telemarketing efforts, it violates the privacy rights of the Plaintiffs and putative class.

        30.     Randall-Reilly provides call center services to companies, with a specific focus in

the automobile telemarketing industry.

        31.     In fact, Randall-Reilly has a “Telemarketing Division”. See

https://www.equipmentworld.com/about-randall-reilly/ (Last Visited May 8, 2019).

        32.     That Telemarketing Division, “offers inbound/outbound services, trade show

promotion and reservations, hot lead generation, buying intentions and other services.” Id.

        33.     Randall-Reilly offered such services to Uber, and provided those services with

respect to the Yodel account.

Calls to The Plaintiffs

        34.     Plaintiff Hobbs is a “person” as defined by 47 U.S.C. § 153(39).



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       35.     Mr. Hobbs’s telephone number, (706) 761-XXXX, is registered to a cellular

telephone service.

       36.     Mr. Hobbs’s number is also on the National Do Not Call Registry.

       37.     Mr. Hobbs was called by Yodel Technologies on behalf of Randall-Reilly and

Uber on December 31, 2018 using the Caller ID number (706) 214-3380.

       38.     The purpose of the call was to sell Uber's software services to Mr. Hobbs in

exchange for the service fee.

       39.     When Mr. Hobbs answered the call, there was a distinctive click and a pause.

       40.     This click and pause is a telltale sign of a predictive dialer.

       41.     The click and pause signifies the algorithm of the predictive dialer operating, the

predictive dialer dials thousands of numbers at once, and only transfers the call to a live agent

once a human being is on the line.

       42.     As a result, the telemarketing activity shifts the burden of wasted time to call

recipients.

       43.     A predictive dialer is an Automatic Telephone Dialing System (ATDS) as that

term is defined by the TCPA.

       44.     After the click and pause, several prerecorded messages played.

       45.     To identify the calling party, Mr. Hobbs listed to the sales pitch conveyed via the

prerecorded messages.

       46.     He was then transferred from Yodel Technologies directly to Randall-Reilly.

       47.     Mr. Hobbs then terminated the call.

       48.     Mr. Hobbs wrote to Randall-Reilly to determine if Randall-Reilly asserted that it

had his prior express consent to make the call.



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        49.    Randall-Reilly responded, but without any assertion that it had prior express

consent to make the call.

        50.    Mr. Hobbs had not consented to receive Defendants’ calls prior to the receipt of

these calls.

        51.    Plaintiff Griffin is a “person” as defined by 47 U.S.C. § 153(39).

        52.    Ms. Griffin telephone number, (770) 873-XXXX, is registered to a cellular

telephone service.

        53.    Ms. Griffin was called by Yodel Technologies on behalf of Randall-Reilly and

Uber On or around May 14, 2019 using the Caller ID number (678) 321-9525.

        54.    The purpose of the call was to sell Uber's software services to Mr. Griffin in

exchange for the service fee.

        55.    When Ms. Griffin answered the call, there was a distinctive click and a pause.

        56.    This click and pause is a telltale sign of a predictive dialer.

        57.    The click and pause signifies the algorithm of the predictive dialer operating, the

predictive dialer dials thousands of numbers at once, and only transfers the call to a live agent

once a human being is on the line.

        58.    As a result, the telemarketing activity shifts the burden of wasted time to call

recipients.

        59.    A predictive dialer is an Automatic Telephone Dialing System (ATDS) as that

term is defined by the TCPA.

        60.    After the click and pause, several prerecorded messages played that promoted

driving opportunities for Uber.




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       61.     Ms. Griffin believes she previously received similar pre-recorded message calls

promoting driving opportunities for Uber.

       62.     Ms. Griffin did not provide her consent for the Defendants to place calls to her.

       63.     Plaintiff Fabricant is a “person” as defined by 47 U.S.C. § 153(39).

       64.     Mr. Fabricant’s telephone number, (818) 266-XXXX, is registered to a cellular

telephone service.

       65.     Mr. Fabricant’s number is also on the National Do Not Call Registry.

       66.     Mr. Fabricant was called by Yodel Technologies on behalf of Uber and Randall-

Reilly on January 2, 2019 and January 11, 2019 using the Caller ID number (818) 629-1632 on

the January 2 call and (818) 629-1575 on the January 11 call.

       67.     The purpose of these calls was to sell Uber’s software services to Mr. Fabricant in

exchange for the service fee.

       68.     When Mr. Fabricant answered the calls there was a distinctive click and a pause.

       69.     This click and pause is a telltale sign of a predictive dialer.

       70.     The click and pause signifies the algorithm of the predictive dialer operating, the

predictive dialer dials thousands of numbers at once, and only transfers the call to a live agent

once a human being is on the line.

       71.     As a result, the telemarketing activity shifts the burden of wasted time to call

recipients.

       72.     A predictive dialer is an ATDS as that term is defined by the TCPA.

       73.     After the click and pause, several prerecorded messages played.

       74.     To identify the calling party, Mr. Fabricant listened to the sales pitch conveyed

via the prerecorded messages.



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        75.      He was then transferred from Yodel Technologies directly to Randall-Reilly.

        76.      Mr. Fabricant then terminated the call.

        77.      Mr. Fabricant did not consent to receive Defendants’ calls prior to the receipt of

these calls.

        78.      All of the calls to the Plaintiffs from Yodel Technologies came from different

Caller ID numbers.

        79.      In fact, each call was from a local Caller ID, in hopes that the call recipients

would be more likely to answer a call from a local number.

        80.      Manipulating Caller ID numbers is another telltale sign that the calls were made

with automated technology.

        81.      The Plaintiffs and the other call recipients were harmed by these calls. They were

temporarily deprived of legitimate use of their phones because the phone line was tied up during

the telemarketing calls and their privacy was improperly invaded. Moreover, these calls injured

Plaintiffs and the other call recipients because they were frustrating, obnoxious, annoying, were a

nuisance and disturbed the solitude of Plaintiffs and the class.

               Randall-Reilly and Uber’s Liability for Yodel Technologies’ Conduct

        82.      For more than twenty years, the FCC has explained that its “rules generally

establish that the party on whose behalf a solicitation is made bears ultimate responsibility for

any violations.” In re Rules & Regulations Implementing the TCPA, CC Docket No. 92-90,

Memorandum Opinion and Order, 10 FCC Rcd 12391, 12397 (¶ 13) (1995).

        83.      In its January 4, 2008 ruling, the FCC likewise held that a company on whose

behalf a telephone call is made bears the responsibility for any violations. Id. (specifically




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recognizing “on behalf of” liability in the context of an autodialed or prerecorded message call

sent to a consumer by a third party on another entity’s behalf under 47 U.S.C. § 227(b)).

       84.     In fact, the Federal Communication Commission has instructed that sellers such

as Randall-Reilly and Uber may not avoid liability by outsourcing telemarketing to third parties,

such as Yodel Technologies:

       [A]llowing the seller to avoid potential liability by outsourcing its telemarketing
       activities to unsupervised third parties would leave consumers in many cases
       without an effective remedy for telemarketing intrusions. This would particularly
       be so if the telemarketers were judgment proof, unidentifiable, or located outside
       the United States, as is often the case. Even where third-party telemarketers are
       identifiable, solvent, and amenable to judgment limiting liability to the telemarketer
       that physically places the call would make enforcement in many cases substantially
       more expensive and less efficient, since consumers (or law enforcement agencies)
       would be required to sue each marketer separately in order to obtain effective relief.
       As the FTC noted, because “[s]ellers may have thousands of ‘independent’
       marketers, suing one or a few of them is unlikely to make a substantive difference
       for consumer privacy.”

May 2013 FCC Ruling, 28 FCC Rcd at 6588 (¶ 37) (internal citations omitted).

       85.     On May 9, 2013, the FCC released a Declaratory Ruling holding that a

corporation or other entity that contracts out its telephone marketing “may be held vicariously

liable under federal common law principles of agency for violations of either section 227(b) or

section 227(c) that are committed by third-party telemarketers.”1

       86.     Randall-Reilly and Uber are liable for the calls initiated by Yodel Technologies.

       87.     Uber hired Yodel Technologies and Randall-Reilly to sell its services using

telemarketing calls.

       88.




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      In re Joint Petition Filed by DISH Network, LLC et al. for Declaratory Ruling
Concerning the TCPA Rules, 28 FCC Rcd 6574, 6574 (¶ 1) (2013) (“May 2013 FCC Ruling”).

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       89.




       90.

       91.



       92.     Furthermore, Randall-Reilly participates in the call itself.

       93.     Yodel Technologies makes the pre-recorded call and then transfers any call

recipient still on the line after the pre-recorded messages to Randall-Reilly.

       94.     From there, Randall-Reilly attempts to finalize the sale at Uber’s instruction on

how that is done.

       95.     Randall-Reilly and Uber knew (or reasonably should have known) that Yodel

Technologies was violating the TCPA on its behalf and failed to take effective steps within its

power to force the telemarketer to cease that conduct.

       96.     Any reasonable seller that accepts telemarketing call leads from lead generators

would, and indeed must, investigate to ensure that those calls were made in compliance with

TCPA rules and regulations.




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       97.     Furthermore, here counsel for the Plaintiff explicitly told Randall-Reilly that

Yodel Technologies was making pre-recorded calls for Randall-Reilly prior to the calls to these

two Plaintiffs, yet Randall-Reilly and Uber continued its relationship with Yodel Technologies.

       98.     Finally, the May 2013 FCC Ruling states that called parties may obtain “evidence

of these kinds of relationships . . . through discovery, if they are not independently privy to such

information.” Id. at 6592-593 (¶ 46). Evidence of circumstances pointing to apparent authority

on behalf of the telemarketer “should be sufficient to place upon the seller the burden of

demonstrating that a reasonable consumer would not sensibly assume that the telemarketer was

acting as the seller’s authorized agent.” Id. at 6593 (¶ 46).



                                     Class Action Allegations

       99.     As authorized by Rule 23(b)(2) and/or (b)(3) of the Federal Rules of Civil

Procedure, Plaintiffs bring this action on behalf of a class of all other persons or entities similarly

situated throughout the United States.

       100.    The Class of persons Plaintiffs propose to represent is tentatively defined as:

       All persons within the United States to whom: (a) Defendants and/or a third party
       acting on their behalf, made one or more non-emergency telephone calls; (b) to their
       cellular telephone number; (c) using an automatic telephone dialing system or an
       artificial or prerecorded voice; and (d) at any time in the period that begins four
       years before the date of the filing of this Complaint to trial.

       101.    Excluded from the Class are counsel, the Defendants, and any entities in which

the Defendants have a controlling interest, the Defendants’ agents and employees, any judge to

whom this action is assigned, and any member of such judge’s staff and immediate family.

       102.    The Class as defined above is identifiable through phone records and phone

number databases.



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          103.   The potential Class members number at least in the thousands. Individual joinder

of these persons is impracticable.

          104.   The Plaintiffs are members of the Class.

          105.   There are questions of law and fact common to Plaintiffs and to the proposed

Class, including but not limited to the following:

                 a. Whether Defendants violated the TCPA by using automated calls to contact

putative class members cellular telephones;

                 b. Whether Defendants placed calls without obtaining the recipients’ prior

express invitation or permission for the call;

                 c. Whether the Plaintiffs and the class members are entitled to statutory damages

because of Defendants’ actions.

          106.   The Plaintiffs’ claims are typical of the claims of class members.

          107.   The Plaintiffs are adequate representatives of the Class because their interests do

not conflict with the interests of the class, they will fairly and adequately protect the interests of

the class, and they are represented by counsel skilled and experienced in class actions, including

TCPA class actions.

          108.   Common questions of law and fact predominate over questions affecting only

individual class members, and a class action is the superior method for fair and efficient

adjudication of the controversy. The only individual question concerns identification of class

members, which will be ascertainable from records maintained by Defendants and/or their

agents.

          109.   The likelihood that individual members of the class will prosecute separate

actions is remote due to the time and expense necessary to prosecute an individual case.



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        110.    The Plaintiffs are not aware of any litigation concerning this controversy already

commenced by others who meet the criteria for class membership described above.



                                           Legal Claims

                      Violation of the TCPA’s Automated Call provisions

        111.    The Plaintiffs incorporate the allegations from all previous paragraphs as if fully

set forth herein.

        112.    Defendants’ calls were made without the prior express consent, or the prior

express written consent, of the called parties. 47 C.F.R. § 64.1200(a)(2)

        113.    The Defendants violated the TCPA by (a) using an automatic telephone dialing

system or a prerecorded voice to make calls to cellular telephone numbers without the required

consent, or (b) by the fact that others made those calls on its behalf. See 47 U.S.C. § 227(b).

        114.    The Defendants’ violations were willful and/or knowing.


                                           Relief Sought

        WHEREFORE, for himself and all class members, Plaintiffs request the following relief:

        A.      Injunctive relief prohibiting Defendants from calling telephone numbers using an

automatic telephone dialing system;

        C.      Because of Defendants’ violations of the TCPA, Plaintiffs seek for themselves

and the other putative Class members $500 in statutory damages per violation or—where such

regulations were willfully or knowingly violated—up to $1,500 per violation, pursuant to 47

U.S.C. § 227(b)(3).

        D.      An order certifying this action to be a proper class action under Federal Rule of

Civil Procedure 23, establishing any appropriate classes the Court deems appropriate, finding


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that Plaintiffs are proper representatives of the Class, and appointing the lawyers and law firms

representing Plaintiffs as counsel for the Class;

       E.      Such other relief as the Court deems just and proper.

       Plaintiffs request a jury trial as to all claims of the complaint so triable.

Dated: May 29, 2019                    PLAINTIFFS, individually and
                                       on behalf of others similarly situated,

                                       By:

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